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 5
      Attorneys for Plaintiff
 6    YEONG LEE
 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10    YEONG LEE,                                        Case No.: 8:23-cv-02434 DOC (KESx)
11
                   Plaintiff,                           NOTICE OF VOLUNTARY
12                                                      DISMISSAL OF ENTIRE ACTION
            vs.                                         WITH PREJUDICE
13
14    ABE RADER INSURANCE AGENCY,
      INC.; ROBERT L. COCHRAN, AS
15    TRUSTEE OF THE ROBERT L. AND
16    ZERETA L. COCHRAN FAMILY
      TRUST; and DOES 1 to 10,
17
                   Defendants.
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            PLEASE TAKE NOTICE that Plaintiff YEONG LEE (“Plaintiff”) pursuant to
21
      Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
22
      action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
23
      provides in relevant part:
24
            (a) Voluntary Dismissal.
25
                   (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26
                          and any applicable federal statute, the plaintiff may dismiss an action
27
                          without a court order by filing:
28


                                                    1
                     NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
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 1                       (i)   A notice of dismissal before the opposing party serves either an
 2                             answer or a motion for summary judgment.
 3    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5    Court.
 6
 7    DATED: January 11, 2024               SO. CAL. EQUAL ACCESS GROUP
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 9
10                                          By:     /s/ Jason J. Kim
                                                  Jason J. Kim, Esq.
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                                                  Attorneys for Plaintiff
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                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
